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                                              February 28, 2024



      Hon. Zahid N. Quraishi
      United States District Court
      Clarkson S. Fisher Building
      402 East State Street
      Trenton, New Jersey 08608


                 Re:     Andy Kim, et al. v. Hanlon, et al.
                         Docket No. 3:24-cv-01098-ZNQ-TJB

      Dear Judge Quraishi:

             This office represents Monmouth County Clerk Christine Giordano
      Hanlon in her official capacity. Our client has significant practical concerns
      regarding Plaintiffs bringing this action at this late time, which if the relief
      being sought is granted, in whole or part, could wreak havoc in the
      administration and conduct of this year’s primary elections for both political
      parties.

              Plaintiffs repeatedly state that this year’s primary election is still 100
      days away; however, the casting of votes starts long before the counting of
      ballots upon the closing of the polls on election day. Vote by mail ballots
      must start being mailed on April 20th (45 days before election day) 1 and those
      ballots must be sent to the printer on April 5th (60 days before election day) 2 a
      little more than a month from today.

              The preparation required to get these ballots to a printer in time is
      immense. In Monmouth County alone, there will be more than 2,000
      candidate names that need to be placed on ballots for 53 separate
      jurisdictions in over 400 election districts ranging from local county


      1
          See N.J.S.A. 19:63-5 and N.J.S.A. 19:63-9.
      2
          See N.J.S.A. 19:14-1.

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      committee candidates in each election district for each political party all the
      way up to President of the United States and delegate slates for the same.

             Our client’s ballot designs, processes and machines are all
      programmed and coded to be compliant with current law. Even if the relief
      sought by Plaintiffs were granted today, it would be practically impossible to
      re-code and re-program the machines in time to be delivered to each
      election district for the primary election. 3


                                                Respectfully submitted,

                                                SPIRO HARRISON & NELSON LLC


                                                By:_____________________
                                                     Brian M. Nelson



      cc.      All Counsel of Record




      3
       Plaintiffs’ reliance on Professor Appel’s report prepared for this litigation cites an ES&S
      sales brochure to suggest that it might be “possible” for voting machines to support
      Plaintiffs requested changes to the ballot, does not in any way support the conclusion that
      such changes could be made in time for this year’s primary election.




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